Case 2:15-cr-20652-GCS-DRG ECF No. 1465 filed 07/30/19       PageID.19667    Page 1 of 3


                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


  UNITED STATES OF AMERICA,                    CRIMINAL NO. 15-20652

                     Plaintiff,                HON. GEORGE CAREM STEEH

  v.

  D-4  COREY BAILEY,
  D-6  ROBERT BROWN II,
  D-13 ARLANDIS SHY,
  D-19 KEITHON PORTER

                 Defendants.
  ____________________________/

  MOTION TO VACATE CONVICTIONS AND TO DISMISS COUNT 32 OF
             THE SIXTH SUPERSEDING INDICTMENT

        NOW COMES the United States of America by and through undersigned

  counsel and hereby moves to vacate convictions and dismiss Count 32 of the Sixth

  Superseding Indictment and in support of its motion, states:

        1.    The defendants were charged in the Sixth Superseding Indictment

  with several charges, including Count 32, possession of a firearm in furtherance of

  a crime of violence, in violation of 18 U.S.C. §§ 924(c)(3)(B) and 2.

        2.    On August 27, 2018, a jury convicted the defendants of multiple

  counts, including Count 32.


                                           1
Case 2:15-cr-20652-GCS-DRG ECF No. 1465 filed 07/30/19        PageID.19668     Page 2 of 3


        3.     On March 29, 2019, the defendants filed a motion to vacate their

  convictions for Count 32 (Dk. No. 1356), arguing that 18 U.S.C. § 924(c)(3)(B) is

  unconstitutionally vague.

        4.     On June 24, 2019, the United States Supreme Court decided United

  States v Davis, --- U.S. --- (2019), wherein the Court concluded that the “residual

  clause” found in 18 U.S.C. § 924(c)(3)(B)is unconstitutional.

        5.     As a result of the Supreme Court’s decision in Davis, the defendants’

  convictions for Count 32 of the Sixth Superseding Indictment must be vacated and

  dismissed.

        6.     Accordingly, the government requests that the Court enter an order

  vacating the defendants’ convictions for Count 32 of the Sixth Superseding

  Indictment and dismissing Count 32 of the Sixth Superseding Indictment.

  Respectfully Submitted,

  MATTHEW SCHNEIDER
  UNITED STATES ATTORNEY


  s/ A. Tare Wigod                        s/ Mark Bilkovic
  Assistant United States Attorney        Assistant United States Attorney
  211 W. Fort Street, Suite 2001          211 W. Fort St., Suite 2001
  Detroit, MI 48226                       Detroit, Michigan 48226
  (313) 226-9191                          Phone: (313) 226-9623
  tare.wigod@usdoj.gov                    mark.bilkovic@usdoj.gov


  Submitted: July 19, 2019
                                            2
Case 2:15-cr-20652-GCS-DRG ECF No. 1465 filed 07/30/19      PageID.19669     Page 3 of 3



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,                   CRIMINAL NO. 15-20652

                     Plaintiff,               HON. GEORGE CARAM STEEH

  v.

  D-4  COREY BAILEY,
  D-6  ROBERT BROWN II,
  D-13 ARLANDIS SHY,
  D-19 KEITHON PORTER

                 Defendants.
  ____________________________/

   ORDER VACATING CONVICTIONS AND DISMISSING COUNT 32 OF
            THE SIXTH SUPERSEDING INDICTMENT

        Upon the Court’s consideration of the government’s motion to vacate

  convictions and to dismiss Count 32 of the Sixth Superseding Indictment, for the

  reasons contained in the government’s motion:

        IT IS ORDERED that the Defendants’ convictions for Count 32 of the Sixth

  Superseding Indictment are vacated.

        IT IS FURTHER ORDERED that Count 32 of the Sixth Superseding

  Indictment is dismissed.

                                              s/George Caram Steeh
                                              Hon. George Caram Steeh
  Entered: July 30, 2019                      United States District Judge
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